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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                       Plaintiff,
                                                  Case No. 1:22-cr-228 (JDB)
  v.

  THADDIS “TJ” JOHNSON JR.

                       Defendant.



                 STIPULATION TO APPEAR BY VIDEO CONFERENCE

       The parties, through their respective counsel, STEPHEN RANCOURT, Assistant United

States Attorney, counsel for the government, and GRIFFIN ESTES, Assistant Federal Defender,

counsel for the defendant, THADDIS JOHNSON JR, hereby stipulate and thereby jointly move

this Court to permit Mr. Johnson to waive his right to be personally present at the December 19,

2022 sentencing hearing, and instead appear by video teleconference. The parties make this

request pursuant to Fed. R. Crim. P. 43(b)(2).



                                             Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY




Dated: November 9, 2022
                                             /s/ Stephen J. Rancourt___________
                                             STEPHEN J. RANCOURT
                                             Assistant United States Attorney
                                             Detailed to the District of Columbia
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Dated: November 9, 2022                       HEATHER E. WILLIAMS
                                              Federal Defender


                                              /s/ Griffin Estes
                                              GRIFFIN ESTES
                                              Assistant Federal Defender
                                              Attorneys for Defendant
                                              THADDIS JOHNSON JR.


                                            ORDER



         Good cause appearing, the above stipulation for defendant to appear via video
teleconference in case No. 1:22-cr-228 is hereby accepted and adopted as the order of this Court.


Dated:
                                                     HON. JOHN D. BATES
                                                     United States District Court Judge
